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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                   )
 SHUCEYB HERSI,                                    )   Docket No. 2:17-cv-94-DBH
                        Plaintiff                  )
                                                   )
 v.                                                )
                                                   )
 CUMBERLAND COUNTY, CITY OF                        )
 PORTLAND, KEVIN JOYCE, MICHAEL                    )
 SAUCHUCK, MATTHEW PAVLIS,                         )
 CHARLES FRAZIER, JOSHUA                           )
 McDONALD, and DAVID SKIBITSKY,                    )
           Defendants
                                                   )


      ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS CUMBERLAND
               COUNTY, KEVIN JOYCE, AND DAVID SKIBITSKY


        NOW COME Defendants Cumberland County, Kevin Joyce, and David Skibitsky, through

counsel, and hereby respond to the allegations contained in Plaintiff’s Complaint as follows:

                                    AFFIRMATIVE DEFENSES

        A. Plaintiff’s Complaint fails to state a cause of action against any of these Defendants

upon which relief may be granted.

        B. Plaintiff has failed to exhaust his administrative remedies, and his action against these

Defendants is therefore barred.

        C. Defendant Cumberland County and Defendant Kevin Joyce in his official capacity are

immune from suit under state law.

        D. Defendant Joyce in his individual capacity and Defendant Skibitsky are entitled to

discretionary function immunity and/or intentional act immunity for any claims against them under
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state law.

       E. Defendant Joyce in his individual capacity and Defendant Skibitsky are entitled to

qualified immunity for any claims against them brought pursuant to 42 U.S.C. § 1983.

       F. Plaintiff’s damages were directly and proximately caused by the acts and/or omissions

of an individual and/or entity other than these Defendants.

       G. Plaintiff’s damages were directly and proximately caused by a legally sufficient

superceding/intervening cause.

       H. Plaintiff has failed to mitigate his damages as required by law.

                                             ANSWER

                                              Parties

       1. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       2. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       3. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       4. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.
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       5. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       6. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

       7. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       8. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       9. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       10. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

       11. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       12. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.
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        13. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

                                    Subject Matter Jurisdiction

        14. The allegations contained in this paragraph of Plaintiff’s Complaint do not state an

allegation to which a response is required. To the extent that a response is required, these

Defendants deny that there is any actionable claim against them.

        15. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants admit that this court has

jurisdiction over the parties and claims alleged in the Complaint, but deny any liability to Plaintiff.

        16. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants admit that this court has

jurisdiction over the parties and claims alleged in the Complaint, but deny any liability to Plaintiff.

                                        Personal Jurisdiction

        17. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants admit that this court has

jurisdiction over the parties and claims alleged in the Complaint, but deny any liability to Plaintiff.

                                                Venue

        18. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants admit that venue is properly laid

before this court, but deny any liability to Plaintiff.
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                                 Facts Common to All Counts

       19. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       20. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       21. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       22. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       23. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       24. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       25. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.
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       26. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       27. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       28. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       29. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       30. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       31. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       32. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same. These Defendants admit that Plaintiff was committed to their custody on or

about July 24, 2012.
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       33. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       34. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       35. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       36. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       37. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

    COUNT I – 42 U.S.C. § 1983 Violation Against Portland Police Officer Defendants,
               Cumberland County, and Kevin Joyce for Illegal Arrest

       38. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 37 of Plaintiff’s Complaint as if fully set forth.

       39. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       40. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       41. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor and against Plaintiff,

plus their costs, attorneys fees, interest, and such other and further relief deemed just and equitable
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under the circumstances.

 COUNT II – 42 U.S.C. § 1983 Violation Against Portland Police Officer Excessive Force

       42. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 41 of Plaintiff’s Complaint as if fully set forth.

       43. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       44. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       45. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

   COUNT III – 42 U.S.C. § 1983 Supervisory Violation Against Michaul Sauschuck for
                                    Illegal Arrest

       46. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 45 of Plaintiff’s Complaint as if fully set forth.

       47. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       48. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.
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       49. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       50. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       51. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       52. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       53. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

  COUNT IV – 42 U.S.C. § 1983 Violation Against Cumberland County Jail Corrections
        Officers, Cumberland County, and Kevin Joyce for Excessive Force

       54. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 53 of Plaintiff’s Complaint as if fully set forth.

       55. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       56. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.
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       57. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       58. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       59. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       60. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       61. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor and against Plaintiff,

plus their costs, attorneys fees, interest, and such other and further relief deemed just and equitable

under the circumstances.

  COUNT V – 42 U.S.C. § 1983 Supervisory Violation Against Kevin Joyce for Excessive
                                       Force

       62. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 61 of Plaintiff’s Complaint as if fully set forth.

       63. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       64. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       65. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.
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       66. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       67. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       68. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor and against Plaintiff,

plus their costs, attorneys fees, interest, and such other and further relief deemed just and equitable

under the circumstances.

  COUNT VI – 42 U.S.C. § 1983 Violation Against Cumberland County Jail Corrections
     Officers, Cumberland County, and Kevin Joyce for Denial of Medical Care

       69. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 68 of Plaintiff’s Complaint as if fully set forth.

       70. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       71. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       72. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       73. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       74. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.
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       WHEREFORE, these Defendants pray for judgment in their favor and against Plaintiff,

plus their costs, attorneys fees, interest, and such other and further relief deemed just and equitable

under the circumstances.

 COUNT VII – 42 U.S.C. § 1983 Violation Cumberland County Jail Corrections Officers,
       Cumberland county, and Kevin Joyce for Denial of Religious Exercise

       75. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 74 of Plaintiff’s Complaint as if fully set forth.

       76. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       77. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       78. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       79. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       80. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor and against Plaintiff,

plus their costs, attorneys fees, interest, and such other and further relief deemed just and equitable

under the circumstances.
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COUNT VIII – Common Law State Law Tort Claim of False Arrest v. Defendant Officers,
             Defendant Deputy, Cumberland County, and Kevin Joyce

       81. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 80 of Plaintiff’s Complaint as if fully set forth.

       82. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       83. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       84. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       85. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor and against Plaintiff,

plus their costs, attorneys fees, interest, and such other and further relief deemed just and equitable

under the circumstances.

COUNT IX – Common Law State Tort Claim of Battery v. Defendant Officers, Defendant
               Deputies, Cumberland County, and Kevin Joyce

       86. These Defendants repeat and reassert the responses provided to the allegations

contained in Paragraphs 1 through 85 of Plaintiff’s Complaint as if fully set forth.

       82(sic). These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       83(sic). These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.
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      85(sic). These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.


Dated: May 8, 2017                                 /s/ Peter T. Marchesi
                                                  Peter T. Marchesi, Esq.


                                                   /s/ Cassandra S. Shaffer
                                                  Cassandra S. Shaffer, Esq.

                                                  Wheeler & Arey, P.A.
                                                  Attorneys for Cumberland County Defendants
                                                  27 Temple Street, P.O. Box 376
                                                  Waterville, ME 04903-0376
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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 SHUCEYB HERSI,                                   )    Docket No. 2:17-cv-94-DBH
                       Plaintiff                  )
                                                  )
 v.                                               )
                                                  )
 CUMBERLAND COUNTY, CITY OF                       )
 PORTLAND, KEVIN JOYCE, MICHAEL                   )
 SAUCHUCK, MATTHEW PAVLIS,                        )
 CHARLES FRAZIER, JOSHUA                          )
 McDONALD, and DAVID SKIBITSKY,                   )
           Defendants
                                                  )


                                   CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

       ●      Answer and Affirmative Defenses of Defendants Cumberland County, Kevin
              Joyce and David Skibitsky

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Robert C. Andrews, Esq.                 rob.andrews.esq@gmail.com


Dated: May 8, 2017                                     /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Attorney for Cumberland County Defendants
                                                      Wheeler & Arey, P.A.
                                                      27 Temple Street, P.O. Box 376
                                                      Waterville, ME 04903-0376
